

Matter of Jose R. v Diomara L. (2021 NY Slip Op 06062)





Matter of Jose R. v Diomara L.


2021 NY Slip Op 06062


Decided on November 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 04, 2021

Before: Acosta, P.J., Renwick, Kapnick, Kennedy, Mendez, JJ. 


Docket No. V-12288-89/18 Appeal No. 14548 Case No. 2021-00606 

[*1]In the Matter of Jose R., Petitioner-Respondent,
vDiomara L., Respondent-Appellant.


Steven N. Feinman, White Plains, for appellant.
Law Office of Lewis S. Calderon, Jamaica (Lewis S. Calderon of counsel), for respondent.
Karen Freedman, Lawyers for Children, Inc., New York (Shirim Nothenberg of counsel), attorney for the children.



Order, Family Court, New York County (Jacob K. Maeroff, Referee), entered on or about January 27, 2021, which, after a fact-finding hearing, awarded the parties joint legal custody and primary residential custody to petitioner father, unanimously affirmed, without costs.
A sound and substantial basis exists for the Family Court's determination that an award of primary physical custody to the father is in the children's best interests. The father has been the children's primary caretaker for more than three years and has been responsible for addressing all their medical and educational needs (see Matter of Lawrence C. v Anthea P., 79 AD3d 577, 579 [1st Dept 2010]). The mother has had limited involvement in the children's development, including the development of one child with special needs, and has demonstrated little insight or concern regarding the sexual abuse of one of the children by her former boyfriend (see Matter of Alejandro F.C. v Alexis O., 185 AD3d 424, 424 [1st Dept 2020]).
We have considered the mother's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 4, 2021








